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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division


 TREVOR FITZGIBBON                            )
                                              )
        Plaintiff,                            )
                                              )
 v.                                           )               Case No. 3:19-cv-477-REP
                                              )
                                              )
 JESSELYN A. RADACK                           )
                                              )
        Defendant.                            )
                                              )


                     MEMORANDUM IN SUPPORT OF
                       MOTION TO SUPPLEMENT
                     SECOND AMENDED COMPLAINT
        Plaintiff, Trevor Fitzgibbon, by counsel, pursuant to Local Civil Rule 7(F),

 respectfully submits this Memorandum in Support of his motion to supplement second

 amended complaint. [ECF No. 64].

                                  I. INTRODUCTION

        Jesselyn Radack plays a very dangerous game – a game that causes great harm to

 the reputation and emotions of the Plaintiff and one that unnecessarily multiplies this

 proceeding and wastes precious judicial resources. In prior litigation between the parties,

 Radack chose to continue tweeting defamatory statements about Plaintiff after suit was

 filed. Her contemptuous tweets continued even after entry of a Restraining Order.

        Through the revelations of a whistleblower, Plaintiff now knows that Radack is

 engaged in a far broader campaign to destroy Plaintiff’s reputation – a campaign that

 involves third-parties and the use of private Twitter “direct messages”.


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        On April 9, 2019, Radack signed a contract – a settlement agreement. That

 solemn contract was supposed to end the conflict between the parties, clean the slate, and

 establish agreed boundaries going forward. In paragraphs 4(a)-(c) of that settlement

 agreement, Radack promised that she would not tweet, retweet, reply, like or otherwise

 post anything on Twitter that mentions Plaintiff or that is of and concerning Plaintiff.

 Radack further promised that she would not publish or communicate – electronically,

 orally, or in writing – to any third party (excluding family members) any disparaging

 comments or words about Plaintiff.

        Unfortunately, Radack chose to breach the settlement agreement and further

 defame Plaintiff.

        On June 28, 2019, Plaintiff commenced this action.

        Radack was undeterred. In tweets published to her 36,500+ Twitter followers on

 July 28, 2019, August 5, 2019, and September 2, 2019, she falsely stated that Plaintiff

 had “attacked me”, that Plaintiff’s client, Julian Assange, had “disavowed” him, that

 Plaintiff was using “alts to stalk women”, and that she was a “survivor” of Plaintiff’s

 stalking.

        On December 10, 2019, Plaintiff filed a second amended complaint to include the

 additional breaches of the settlement agreement and defamation that had occurred after

 commencement of this case in June 2019.

        Incredibly, Radack persevered in her breaches and attacks upon Plaintiff.

        On December 27, 2019, she liked1 the following tweets that mentioned Plaintiff:


        1
                 On Twitter, “likes” are represented by a small heart and are used to show
 appreciation for a Tweet. Likes appear on the sender’s (i.e., Radack’s) profile page and
 can be accessed by anyone simply by clicking or tapping into the “Likes” tab at the top of
 the page. [https://help.twitter.com/en/using-twitter/liking-tweets-and-moments].

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       On January 8, 2020, Radack tweeted the following statement to her followers in

 Virginia (@RVAwonk and @AdamParkhomenko):




                                         4
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 No one forced Radack to tweet. No one forced her to tag2 any third-parties, including

 @RVAwonk, @AdamParkhomenko, @DevinCow or anyone else. Radack chose to

 include these users in Twitter conversations that were none of their business. Radack

 made this case the business of @RVAwonk, @AdamParkhomenko, @DevinCow, and

 many, many other third-parties. She made them witnesses. She chose to broadly tag

 Twitter users with massive followings because she wanted to increase the audience and,

 therefore, exacerbate the pain and suffering she inflicted with each foul tweet:




        2
                 “Mentions” or “tags” are tweets that contain another account’s username,
 preceded by the “@” symbol. For example: “@DevinCow”. “Tagging” someone is a
 way of including them in a conversation. Tags appear on the sender’s profile page of
 public tweets and in the recipient’s notifications tab and will appear on the recipient’s
 home timeline view if the recipient of the tag follows the sender. Anyone who follows
 the sender of a tag, i.e. anyone who follows Radack, will also see the tweet in their home
 timeline. [https://help.twitter.com/en/using-twitter/types-of-tweets].


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 On January 13, 2020, the user of Twitter account @jimmysllama published the

 following tweet that mentioned Plaintiff:




 Radack chose to “like” the tweet:




 Each of Radack’s public tweets, retweets, replies and likes after December 10, 2019 –

 the date Fitzgibbon filed his second amended compliant – is an actionable breach of the

 settlement agreement.


                                             6
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                    RADACK’S EMAILS WITH THIRD PARTIES

        In addition to her tweets, retweets, replies and likes after December 10, 2019,

 Radack has violated the settlement agreement in emails to third-parties. For as yet

 unexplained reasons, Radack published a copy of her answer and counterclaim to

 Professor Eugene Volokh (“Volokh”), Raymond Johansen (“Johansen”), and Bailey

 Lamon (“Lamon”) as follows:




 Neither of these email publications is subject to any qualified privilege.

        After December 10, 2019, Johansen also republished false and defamatory

 statements about Fitzgibbon that were originally published by Radack in May 2018,

 showing concerted action between Radack and Johansen, e.g.:




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 After December 10, 2019, the user of Twitter account @HatedByManyLOL (formerly

 known as @Kaidinn) also continued to defame Plaintiff, tagging Radack, @DevinCow

 and others, referring to Plaintiff as “Serial Rapist Fitzgibbon”:




                                               8
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                     RADACK’S PRIVATE, DIRECT MESSAGES

        To his great dismay, Plaintiff has also discovered that Radack is using Twitter

 privately to defame him behind the scenes in direct messages (DMs) with third parties.

        In response to an interrogatory that asked Radack to identify ALL persons to

 whom she made or published any statement of and/or concerning Fitzgibbon between the

 date of the settlement – April 9, 2019 – and the present, Radack represented that she

 “suffers from memory issues which are commonly termed ‘cog fog’ or MS-related brain

 fog.” Subject to her claim of “cog fog”, Radack answered that “since April”, she has

 spoken about Plaintiff to:

        a)      Travelers Home and Marine representative Chris Newkirk;

        b)      Her doctors including her gynecologist and therapist;

        c)      Her husband;

        d)      Her colleague Kathleen McClellan;

        e)      Beth Bogaerts; and

        f)      Thomas Drake.

 Fitzgibbon has learned that Radack’s interrogatory answer is false.

        On February 17, 2020, a whistleblower contacted Fitzgibbon, and provided copies

 of Twitter “direct messages”3 he received from Radack on June 8, 2019. It’s no wonder


        3
                 Twitter permits users to engage in “non-public” conversations, called
 “direct messages” or “DMs”. Direct messages are exactly like private emails. A user can
 start a non-public conversation or create a group conversation with anyone who follows
 that user. Anyone who does not follow the user can send a direct message if the user has
 opted in to receive direct messages from anyone or if the user has previously sent that
 person a direct message. To send a direct message, the user simply taps the envelope
 icon, types in a username, e.g., @DevinCow, and adds text, photo, video, etc., and hits
 the airplane icon to send the message. A group message can include up to fifty (50)
 people. [https://help.twitter.com/en/using-twitter/direct-messages].


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  that Radack concealed these private communications from Fitzgibbon. These direct

  messages (DMs) provide irrefutable evidence of Radack’s private breaches of the

  settlement agreement and defamation that she actively concealed.

         Radack trolls Twitter searching for tweets about Fitzgibbon. On June 8, 2019 –

  two months after she signed the settlement agreement – Radack saw the following tweet

  by the whistleblower: 4
                       1F1F




  Radack quickly initiated contact with the whistleblower:




  The whistleblower replied:




         4
                 The identity of the whistleblower is redacted to protect him from
  retaliation by Radack and her agents. Fitzgibbon will share the identity of the
  whistleblower with the Court in camera or subject to the terms of a stipulated protective
  order.

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  Radack then published to the whistleblower – a “third party” within the meaning of the

  settlement agreement – the following private, direct message (DM):




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                                    12
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  Radack’s direct messages clearly constitute actionable breaches of the settlement

  agreement and defamation.5

         On February 18, 2020, the whistleblower supplied further incriminating private

  DMs that he received from Radack on June 8, 2019. When the whistleblower asked

  Radack “[w]hat did he [Plaintiff] do to you?”, Radack stated the following:




         5
                 In light of the whistleblower’s revelations, Radack’s private, direct
  messages – messages that she has hidden from the Court and Fitzgibbon – with
  @DevinCow, @AdamParkhomenko, @RVAwonk, @sparrowmedia, @foxfire,
  @RayJoha2, @UpTheCypherPunx, @jimmysllama and @Kaidinn, are clearly
  relevant and obviously discoverable. The whistleblower’s revelations demonstrate that
  Radack is intentionally hiding communications with third parties that breach the
  settlement agreement and constitute defamation.

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  When the whistleblower offered to help resolve the conflict, Radack hit back with the

  following private DM:




                                           14
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  These are not minor breaches of the settlement agreement. Radack does not know the

  whistleblower. Radack’s conduct evinces a heedless and palpable abandonment of the

  settlement agreement. Radack uses words that are malicious and defamatory.6

                         ADDITIONAL ARCHIVED TWEETS

         On February 19, 2020, Fitzgibbon located additional tweets that Radack had

  published on Twitter after she signed the settlement agreement, but that she had quickly

  deleted. These tweets were recovered from Twitter’s archives. The following tweets

  mention Plaintiff or are of and concerning Plaintiff.      They violate the settlement

  agreement and are actionable:




         6
                  In a flagrant attempt to disregard for her discovery obligations, Radack
  continues to entice third parties, including alleged co-conspirators, to communicate with
  her privately via Twitter direct messages (DMs):




  Radack refuses to produce her DMs with third parties in discovery. Plaintiff will be
  forced to seek relief from the Court.

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  “Shitsfibbin” refers to Plaintiff.




  The “troll” referred to in Radack’s tweet is Plaintiff.


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  The “predator” referred to in Radack’s tweet is Plaintiff.




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  The “guy” referred to the preceding tweet liked by Radack is Plaintiff.




                                              18
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                                      CONCLUSION

         For the reasons stated above, Plaintiff requests leave to file a Statement of

  Additional Claims, which will supplement the second amended complaint to add the

  tweets, retweets, replies, likes, and private DMs mentioned above.



  DATED:        February 21, 2020



                               TREVOR FITZGIBBON



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                            CERTIFICATE OF SERVICE

        I hereby certify that on February 21, 2020 a copy of the foregoing was filed

  electronically using the Court’s CM/ECF system, which will send notice of electronic

  filing to counsel for the Defendant and all interested parties receiving notices via

  CM/ECF.




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